Case 3:12-cr-04690-JM   Document 63   Filed 12/16/13   PageID.155   Page 1 of 4
       Case 3:12-cr-04690-JM                      Document 63         Filed 12/16/13      PageID.156            Page 2 of 4


AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
           Sheet 2 -, Imprisonment

                                                                                            Judgment -   Page _ _2 _ of      4
 DEFENDANT: EDWARDO CONTRERAS-RUJZ (I)
 CASE NUMBER: t2CR4690 JM
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         THIRTY (30) MONTHS.



    D Sentence imposed pursuant to Title 8 USC Section 1326(b).
    [81 The court makes the following recommendations to the Bureau of Prisons:
         Defendant participate in 500 hour drug treatment program.
         Defendant be designated to a facility in the Western Region.



    D The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
           D at                                    Da.m.      Dp.m.      on
               as notified by the United States M::ll"shal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before
                   -------------------------------------------------------------------------
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretri<li Services Office.

                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _____________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                      By _
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                      t2CR4690JM
Case 3:12-cr-04690-JM   Document 63   Filed 12/16/13   PageID.157   Page 3 of 4
Case 3:12-cr-04690-JM   Document 63   Filed 12/16/13   PageID.158   Page 4 of 4
